                                         UNITED STATES OF AMERICA



                                      Department of Health and Human Services



                                        CERTIFICATION OF TRUE COPY


                             CERTIFICATION
       OF THE ADMINISTRATIVE RECORD UPON THE 2ND OF FEBRUARY 2024


          I, Jessica Marcella, Deputy Assistant Secretary for Population Affairs, Office of the

Assistant Secretary for Health, do hereby certify that to the best of my knowledge the materials

described in the accompanying index constitutes a true, correct, and complete copy of the non-

privileged documents that were directly or indirectly considered in issuing the March 20, 2023

decision not to fund a continuation award for Grant #FPHPA006553.




Jessica S. Marcella -S Digitally signed by Jessica S. Marcella -S
                       Date: 2024.01.30 17:19:44 -05'00'
_____________________________________
Jessica Marcella, MPA



Dated: _______________________




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